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                         DEBTORS/NEWCO OPERATING INJUNCTION

                                      I.      DEFINITIONS

A.       “Bankruptcy Court” or “Court” shall mean the court presiding over the chapter 11
         proceedings In re Purdue Pharma L.P. et al., Case No. 19-23649-RDD (Bankr. S.D.N.Y.).

B.       “CDC Guideline Recommendations” shall mean the 12 enumerated Recommendations
         published by the U.S. Centers for Disease Control and Prevention (CDC) for the
         prescribing of opioid pain medication for patients 18 and older in primary care settings as
         part of its 2016 Guideline for Prescribing Opioids for Chronic Pain (CDC Guidelines), as
         updated or amended by the CDC.

C.       “Chapter 11 Plan of Reorganization” or “Plan of Reorganization” or “Plan” shall mean the
         Eleventh Amended Plan filed on August 31, 2021 as may be further amended in In re
         Purdue Pharma L.P..

D.       “Company” shall mean the Debtors as defined in these chapter 11 proceedings In re Purdue
         Pharma L.P. et al., Case No. 19-23649-RDD (S.D.N.Y.). Following the Effective Date,
         “Company” shall mean “NewCo,” a newly formed Delaware limited liability company to
         be created in accordance with Section 5.4 of the Plan to directly or indirectly receive the
         NewCo Transferred Assets and operate such NewCo Transferred Assets in accordance with
         the NewCo Operating Agreement, the NewCo Governance Covenants and the NewCo
         Operating Injunction.

E.       “Confirmation Order” shall mean the order of the Bankruptcy Court (or other court of
         competent jurisdiction) confirming the Chapter 11 Plan.

F.       “Downstream Customer Data” shall mean transaction information that the Company
         collects relating to the Company’s direct customers’ sales to downstream customers,
         including but not limited to chargeback data tied to the Company providing certain
         discounts, “867 data,” and IQVIA data.

G.       “Effective Date” means the date on which the Plan of Reorganization becomes effective.

H.       “Governance Covenants” shall have the meaning set forth in NewCo’s Operating
         Agreement.

I.       “Health Care Provider” shall mean any U.S.-based physician or other health care
         practitioner who is licensed to provide health care services or to prescribe pharmaceutical
         products and any medical facility, medical practice, hospital, clinic or pharmacy.

J.       “Including but not limited to,” when followed by a list or examples, shall mean that list or
         examples are illustrative instances only and shall not be read to be restrictive.

K.       “In-Kind Support” shall mean payment or assistance in the form of goods, commodities,
         services, or anything else of value.
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L.   “Lobby” shall mean to engage in “lobbying activities” or “lobbying contacts” under the
     federal lobbying disclosure act, 2 U.S.C. § 1602 et seq., and any analogous state or local
     provisions governing the person or entity being lobbied in that particular state or locality.
     As used in this injunction, “Lobby” includes Lobbying directly or indirectly, through
     grantees or Third Parties.

M.   “NewCo Disposition Event” shall have the meaning assigned to the term “Disposition
     Event” as set forth in the NewCo Operating Agreement.

N.   “NewCo Operating Agreement” shall have the meaning set forth in the Plan of
     Reorganization.

O.   “Opioid(s)” shall mean all natural, semi-synthetic, or synthetic chemicals that interact with
     opioid receptors and act like opium. For the avoidance of doubt, the term Opioid shall not
     include the opioid antagonists naloxone and nalmefene.

P.   “Opioid Product(s)” shall mean all current and future medications containing Opioids
     approved by the U.S. Food & Drug Administration (FDA) and listed by the Drug
     Enforcement Administration (DEA) as Schedule II, III, or IV drugs pursuant to the federal
     Controlled Substances Act, including but not limited to codeine, fentanyl, hydrocodone,
     hydromorphone, meperidine, morphine, oxycodone, oxymorphone, tapentadol, and
     tramadol.

Q.   “OUD” shall mean opioid use disorder defined in the Diagnostic and Statistical Manual of
     Mental Disorders, Fifth Edition (DSM–5), as updated or amended.

R.   “PHI Product(s)” shall have the meaning set forth in the NewCo Operating Agreement,
     which for the avoidance of doubt includes, buprenorphine-naloxone combination tablets,
     over-the-counter naloxone nasal spray, injectable nalmefene, and any other medicines as
     determined by NewCo’s Board provided that such medicines must be approved by the FDA
     for treatment of opioid addiction and/or reversing opioid overdoses, but for purposes of
     this injunction does not include methadone and generic versions of Subutex® sublingual
     buprenorphine tablets.

S.   “Promote,” “Promoting,” and “Promotion” shall mean dissemination of information or
     other practices intended or that could be reasonably anticipated to influence prescribing
     practices in a manner that increases sales, prescriptions, or the utilization of prescription
     products.

T.   “Qualified Researcher” shall mean any researcher holding a faculty appointment or
     research position at an institution of higher education, a research organization, a nonprofit
     organization, or a government agency.

U.   “Section” shall mean, unless the context requires otherwise, a Section of this injunction.

V.   “Shareholder Released Parties” shall mean the Estate of Beverly Sackler, David A. Sackler,
     Ilene Sackler, the Estate of Jonathan D. Sackler, Kathe Sackler, Mortimer D.A. Sackler,
     Richard S. Sackler, Theresa Sackler, any trusts of which any of the foregoing are

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     beneficiaries, and the trustees thereof (solely in their capacities as such), each Shareholder
     Party and each other entity or person that directly or indirectly owns equity in, or has voting
     control over, any of the Debtors, and in the event of the death of a Shareholder Released
     Party who is a natural person, other than a natural person who is a Shareholder Released
     Party solely in the capacity as a trustee, the estate of such person.

W.   “State Monitor Committee” shall mean a bipartisan, volunteer committee comprising
     representatives from 5-7 States.

X.   “Suspicious Order” shall have the same meaning as provided by the Controlled Substances
     Act, 21 U.S.C. §§ 801-904, and the regulations promulgated thereunder, final DEA
     administrative decisions that are published in the Federal Register, and analogous state
     laws and regulations.

Y.   “Third Party” shall mean any person or entity other than the Company or a government
     entity.

Z.   “Treatment of Pain” shall mean the provision of therapeutic modalities to alleviate or
     reduce pain.

                          II.     SCOPE AND ENFORCEMENT

A.   This injunction shall apply to and be binding on NewCo on the Effective Date; and on any
     transferee or successor to, or subsequent operator of, all or any portion of NewCo’s Opioid
     business (a “Transferee/Successor”) as set forth below.

B.   The Debtors and NewCo consent to the entry of a final judgment or consent order,
     substantially in the form of this injunction, imposing all of the provisions of this injunction
     in each state and territorial court on the Debtors, NewCo and any Transferee/Successor, at
     any time after the Effective Date (the “Consent Judgment”), as well as to the jurisdiction
     of those state and territorial courts with respect to a Consent Judgment. A Consent
     Judgment shall apply to and be binding on NewCo after the Effective Date; and on any
     Transferee/Successor.

C.   Until this injunction is effective, the Voluntary Injunction initially entered on November
     6, 2019 in Purdue Pharma L.P. v. Massachusetts, Adv. Pro. No. 19-08289 (Bankr.
     S.D.N.Y) as Exhibit 1 to the Second Amended Order Pursuant to 11 U.S.C. § 105(a)
     Granting Motion for a Preliminary Injunction and re-entered thereafter, shall remain in full
     force and effect on the Company and NewCo.

D.   Without limiting the foregoing:

     1.     NewCo shall be required to obtain the consent of any Transferee/Successor to be
            bound by this injunction and to submit to the jurisdiction of this Court and each
            state and territorial court for enforcement of the terms of this injunction as a
            condition to a transfer of all or any portion of NewCo’s Opioid business.



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     2.    Nothing in this injunction applies to the operation of a Transferee/Successor’s pre-
           existing Opioid business. Any Transferee/Successor shall be subject only to
           Sections III.A-C and III.E-H.

     3.    Nothing requires that this injunction be enforced exclusively in this Court or limits
           the jurisdiction of any state or territorial court to enforce the terms of this injunction.

                              III.    INJUNCTIVE RELIEF

A.   Ban on Promotion

     1.    The Company shall not engage in the Promotion of Opioids or Opioid Products,
           including but not limited to, by:

           a.      Employing or contracting with sales representatives or other persons to
                   Promote Opioids or Opioid Products to Health Care Providers or patients.

           b.      Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                   speaking events for Promotion of Opioids or Opioid Products.

           c.      Sponsoring, or otherwise providing financial support or In-Kind Support to
                   medical education programs that include references to Opioids or Opioid
                   Products.

           d.      Creating, sponsoring, operating, controlling, or otherwise providing
                   financial support or In-Kind Support to any website, network, and/or social
                   or other media account for the Promotion of Opioids or Opioid Products.

           e.      Creating, sponsoring, distributing, or otherwise providing financial support
                   or In-Kind Support for materials Promoting Opioids or Opioid Products,
                   including but not limited to brochures, newsletters, pamphlets, journals,
                   books, and guides.

           f.      Creating, sponsoring, or otherwise providing financial support or In-Kind
                   Support for advertisements that Promote Opioids or Opioid Products,
                   including but not limited to internet advertisements or similar content, and
                   providing hyperlinks or otherwise directing internet traffic to
                   advertisements.

           g.      Engaging in Internet search engine optimization or other techniques
                   designed to Promote Opioids or Opioid Products, including by improving
                   rankings or making content appear among the top results in an Internet
                   search or otherwise be more visible or more accessible to the public on the
                   Internet.

           h.      Utilizing electronic health records software or other digital health platforms
                   to create alerts, workflows, or disseminate information known or reasonably
                   expected to increase utilization of Opioids or Opioid Products.

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    2.    Notwithstanding Sections III.A.1 and III.C, the Company may:

          a.     Maintain corporate websites.

          b.     Maintain a website for any Opioid Product that contains principally the
                 following content: the FDA-approved package insert, medication guide, and
                 labeling, and a statement directing patients or caregivers to speak with a
                 licensed Health Care Provider; Risk Evaluation and Mitigation Strategy
                 (REMS) materials; and contact information to report an adverse event or
                 product complaint.

          c.     Provide information or support the provision of information as expressly
                 required by law, settlement, court order or any state or federal government
                 agency, including providing all information necessary in order for the
                 Company to comply with its regulatory obligations pursuant to the Federal
                 Food, Drug, and Cosmetic Act or the Controlled Substances Act, and/or
                 provide information about legal proceedings involving the Company.

          d.     Engage and compensate Health Care Providers or other Third Parties to
                 assist the Company in responding to, preparing for and participating in any
                 of the following activities held by any state or federal government or state
                 or federal agencies or regulators, including the FDA: advisory committees,
                 working groups, meetings and or/hearings.

          e.     Provide the following by mail, electronic mail, on or though the Company’s
                 corporate or product websites or through other electronic or digital methods:
                 FDA-approved package insert, medication guide, approved labeling for
                 Opioid Products, REMS materials or other prescribing information for
                 Opioid Products that are published by a state or federal government agency.
                 State materials may be provided only within the applicable state.

          f.     Provide scientific and/or medical information in response to an unsolicited
                 request by a Health Care Provider concerning Opioid Products consistent
                 with the recommendations set forth in the FDA’s Draft Guidance for
                 Industry, Responding to Unsolicited Requests for Off-Label Information
                 About Prescription Drugs and Medical Devices (Dec. 2011, as updated or
                 amended by the FDA) and Guidance for Industry, Good Reprint Practices
                 for the Distribution of Medical Journal Articles and Medical or Scientific
                 Reference Publications on Unapproved New Uses of Approved Drugs and
                 Approved or Cleared Medical Devices (Jan. 2009, as updated or amended
                 by the FDA). Such responses should be handled by medical or scientific
                 personnel at the Company who are independent from the sales or marketing
                 departments.

          g.     Provide a response to any unsolicited question or request from a patient or
                 caregiver, directing the patient or caregiver to the FDA-approved labeling
                 and to the extent that the question cannot be answered solely by reference

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                 to a specific provision of the FDA-approved labeling, providing a response
                 that is truthful, balanced, non-misleading and fully consistent with the FDA-
                 approved labeling or recommending the patient or caregiver speak with a
                 licensed Health Care Provider without naming any specific provider or
                 healthcare institution; or directing the patient or caregiver to speak with
                 their insurance carrier regarding coverage of an Opioid Product.

          h.     Provide information to a payor, formulary committee, distributor, or other
                 similar entity with knowledge and expertise in the area of health care
                 economics concerning the cost or availability of a Company Opioid
                 Product, including the costs compared to the cost of an Opioid Product
                 manufactured or distributed by another company. Such information may
                 include information about the stocking of the Opioid Product as described
                 in the FDA-approved labeling; tier status; applicable prescribing guidelines
                 that are consistent with the FDA-approved labeling; step-edits for Opioid
                 Products; restrictions; and/or prior authorization status concerning an
                 Opioid Product. Provided further that information provided pursuant to this
                 subparagraph shall also be posted on the website permitted by Section
                 III.A.2.b, except for information that is commercially sensitive or otherwise
                 confidential, which instead shall be provided to the Monitor and the State
                 Monitor Committee.

          i.     Sponsor or provide financial support or In-Kind Support for an accredited
                 or approved continuing medical education program required by either an
                 FDA-approved REMS program or other federal or state law or regulation in
                 accordance with applicable requirements, settlement with a governmental
                 entity, or court order, through an independent Third Party, which shall be
                 responsible for the continuing medical education program’s content without
                 the participation of the Company.

          j.     Provide rebates, discounts, fees and other customary pricing adjustments to
                 DEA-registered customers and contracting intermediaries, such as Buying
                 Groups, Group Purchasing Organizations, Managed Care Plans and
                 Pharmacy Benefit Managers, except as prohibited by Section III.E.

          k.     Promote PHI Products, and provide information about, discuss, or comment
                 on, issues regarding mechanisms for preventing opioid abuse and misuse,
                 including the prevention, education and treatment of opioid overdose.
                 Except that the Company shall not:

                 (i) Employ or contract with sales representatives to detail PHI Products (i.e.,
                 through direct interaction, whether in-person or virtual, with individual
                 prescribing or dispensing health care professionals or their staffs) who are
                 compensated based on sales or volume of PHI Products. The Company will
                 document interactions related to PHI Products between Company sales
                 representatives and health care professionals or their staffs and will retain
                 documents and information relating to those communications; and/or

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                 (ii) In addition to Section III.A.2.k.i, with regard to PHI Products that are
                 Opioid Products indicated for the treatment of substance abuse disorders,
                 employ or contract with sales representatives to detail such PHI Products
                 (i.e., through direct interaction, whether in-person or virtual, with individual
                 prescribing or dispensing health care professionals or their staffs). Nothing
                 in this Section III.A.2.k.ii shall be construed to prohibit personal contact
                 between non-sales representatives of the Company and health care
                 professionals or their staffs regarding PHI Products that are Opioids. The
                 Company will document interactions regarding PHI Products that are
                 Opioids between Company non-sales representatives and health care
                 professionals or their staffs and will retain documents and information
                 relating to those communications.

                 (iii) Any and all documents and information relating to communications
                 related to the activities described in Subsections (i) and (ii) of this Section
                 III.A.2.k shall be provided to the Monitor at his request for his review.

                 (iv) Nothing in this section shall be construed to permit the Promotion of
                 methadone or generic versions of Subutex® sublingual buprenorphine
                 tablets except pursuant to Sections III.A.2.a-j.

    3.    The Company shall not engage in the following specific Promotional activity
          relating to any products for the treatment of Opioid-induced side effects except as
          permitted by Section III.A.2.k, above:

          a.     Employing or contracting with sales representatives or other persons to
                 Promote products for the treatment of Opioid-induced side effects to Health
                 Care Providers or patients.

          b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                 speaking events for Promotion of products for the treatment of Opioid-
                 induced side effects.

          c.     Sponsoring, or otherwise providing financial support or In-Kind Support to
                 medical education programs relating to products for the treatment of
                 Opioid-induced side effects except as required by REMs, court orders or
                 settlements.

          d.     Creating, sponsoring, or otherwise providing financial support or In-Kind
                 Support for advertisements that Promote products for the treatment of
                 Opioid-induced side effects, including but not limited to internet
                 advertisements or similar content, and providing hyperlinks or otherwise
                 directing internet traffic to advertisements.

          e.     Engaging in any other Promotion of products for the treatment of Opioid-
                 induced side effects in a manner that encourages the utilization of Opioids
                 or Opioid Products or normalizes the use of Opioids or Opioid Products for
                 chronic pain.
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           f.     Utilizing electronic health records software or other digital health platforms
                  to create alerts, workflows, or disseminate information known or reasonably
                  expected to increase utilization of Opioids or Opioid Products.

     4.    Notwithstanding Section III.A.3, the Company may Promote Senokot® and
           Colace® or other non-prescription products to treat constipation so long as such
           Promotion does not explicitly or implicitly associate the product with Opioids or
           Opioid Products except for linking to the FDA label associated with that product.

     5.    Treatment of Pain

           a.     The Company shall not, either through the Company or through Third
                  Parties, engage in Promotion of the Treatment of Pain in a manner that
                  directly or indirectly encourages the use of Opioids or Opioid Products.

           b.     The Company shall not, either through the Company or through Third
                  Parties, Promote the concept that pain is undertreated in a manner that
                  directly or indirectly encourages the use of Opioids or Opioid Products.

     6.    To the extent that the Company engages in conduct permitted by Section III.A.2,
           the Company shall do so in a manner that is:

           a.     Consistent with the CDC Guideline Recommendations, as applicable.

           b.     Truthful, not misleading, accurate, and not deceptive.

     7.    For the avoidance of doubt, nothing in this injunction shall be construed or used to
           prohibit the Company from taking legal or factual positions in litigation,
           bankruptcy proceedings, investigations, regulatory actions, or other legal or
           administrative proceedings or prohibit or limit the Company’s right to make public
           statements or respond to media reports or inquiries relating to any litigation,
           bankruptcy proceedings, investigations, regulatory actions, or other legal,
           administrative, or legislative proceedings.

B.   No Reward or Discipline Based on Volume of Opioid Sales

     1.    The Company shall not provide financial or non-financial incentives to its
           employees or discipline its employees based upon sales volume or sales quotas for
           Opioid Products.

     2.    The Company shall not offer or pay any remuneration (including any kickback,
           bribe, or rebate) directly or through a Third Party, to or from any person in return
           for the prescribing, sale, use or distribution of an Opioid Product. For the avoidance
           of doubt, this subparagraph shall not prohibit the provision of rebates and/or
           chargebacks to the extent permitted by Section III.A.2.j.

     3.    The Company’s compensation policies and procedures shall be designed to ensure
           compliance with this injunction and other legal requirements.

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C.     Ban on Funding/Grants to Third Parties

Except with respect to PHI Products:

       1.     The Company shall not directly or indirectly provide financial support or In-Kind
              Support to any Third Party for the purpose of Promoting Opioids, Opioid Products,
              the Treatment of Pain, or products intended to treat Opioid-related side effects,
              including educational programs or websites that Promote Opioids, Opioids
              Products, the Treatment of Pain or products intended to treat Opioid-related side
              effects, but excluding financial support otherwise allowed by this injunction,
              including REMS, settlements, and court orders or as required by a federal or state
              agency.

       2.     The Company shall not operate, control, create, sponsor, provide financial support
              or In-Kind Support to any medical society or patient advocacy group relating to any
              Opioids, Opioid Products, the Treatment of Pain, or products intended to treat
              Opioid-related side effects, except with regard to REMS or to comply with
              settlements, court orders, or federal or state law.

       3.     The Company shall not provide links to any Third Party website or materials or
              otherwise distribute materials created by a Third Party relating to any Opioids,
              Opioid Products, the Treatment of Pain, or products intended to treat Opioid-related
              side effects.

       4.     The Company shall not use or pay any Third Party to engage in any activity that
              the Company itself would be prohibited from engaging in pursuant to the
              injunction.

       5.     The Company shall not enter into any contract or agreement with any person or
              entity or otherwise attempt to influence any person or entity in such a manner that
              has the purpose or likely effect of limiting the dissemination of information
              regarding the risks and side effects of using Opioids.

       6.     The Company shall not compensate or provide In-Kind Support to Health Care
              Providers or organizations to advocate for formulary access or treatment guideline
              changes that would have the effect of increasing access to any Opioid Product by
              third-party payors, i.e., any entity, other than an individual, that pays or reimburses
              for the dispensing of prescription medicines, including but not limited to managed
              care organizations and pharmacy benefit managers. For the avoidance of doubt,
              nothing herein shall prohibit the Company from compensating Third Parties for
              engaging in conduct otherwise permitted under this injunction

       7.     No current director, officer, or management-level employee of the Company may
              serve as a director, board member, employee, agent, or officer of any entity that
              engages in Promotion relating to Opioids, Opioid Products, the Treatment of Pain,
              or products intended to treat Opioid-related side effects except insofar as such
              service would be consistent with Section III.A.2. or III.A.4, or except for services
              relating to (i) the treatment of OUD, (ii) the prevention, education or treatment of
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           opioid abuse, addiction or overdose, including medication-assisted treatment for
           opioid addiction and/or (iii) rescue medication for opioid overdose.

     8.    The Company shall play no role in appointing persons to the board, or hiring
           persons to the staff, of any entity that principally engages in Promotion relating to
           any Opioids, Opioid Products, the Treatment of Pain, or products intended to treat
           Opioid-related side effects except as otherwise permissible under Section III.A.4.

     9.    The Company shall ensure that any employee serving on the board of any
           organization that engages in lobbying or educating state and federal officials on
           policies and regulations, the impact of which would be to more easily enable or
           Promote the use of Opioids or Opioid Products, recuse himself/herself from any
           board discussion or decisions relating to Opioids, including any determinations the
           organization may make related to lobbying efforts with respect to opioids. Further,
           the Company shall ensure that any such employees will refrain from participation
           in any working group of such organization that focus on the Promotion of Opioids
           or Opioid Products or which focus on issues that would otherwise not be permitted
           under this injunction.

     10.   For the avoidance of doubt, nothing in Section III.C shall be construed or used to
           prohibit the Company from providing financial or In-Kind Support to:

           a.     medical societies and patient advocate groups, who are principally involved
                  in issues relating to (i) the treatment of OUD; (ii) the prevention, education,
                  and treatment of opioid abuse, addiction, or overdose, including
                  medication-assisted treatment for opioid addiction; and/or (iii) rescue
                  medications for opioid overdose.

           b.     universities, medical institutions, or hospitals, for the purpose of addressing,
                  or providing education on, issues relating to (i) the treatment of OUD; (ii)
                  the prevention, education, and treatment of opioid abuse, addiction, or
                  overdose, including medication-assisted treatment for opioid addiction;
                  and/or (iii) rescue medications for opioid overdose.

D.   Lobbying Restrictions

     1.    The Company shall not Lobby for or against the enactment of any federal, state or
           local legislation or promulgation of any rule or regulation that:

           a.     Encourages or requires Health Care Providers to prescribe Opioids or
                  sanctions Health Care Providers for failing to prescribe Opioids or failing
                  to treat pain with Opioids;

           b.     Would have the effect of limiting access to any non-Opioid alternative pain
                  treatments;

           c.     Pertains to the prohibitions against misbranding or adulteration in the
                  Federal Food, Drug, and Cosmetic Act; or

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          d.     Pertains to the classification of any Opioid or Opioid Product as a scheduled
                 drug under the Controlled Substances Act.

    2.    The Company shall not directly, or by employing or controlling a Third Party,
          Lobby against the enactment of any federal, state or local legislation or
          promulgation of any rule or regulation that supports:

          a.     The use of non-pharmacologic therapy and/or non-Opioid pharmacologic
                 therapy to treat chronic pain over or instead of Opioid therapy, including
                 but not limited to Third Party payment or reimbursement for such therapies;

          b.     The use and/or prescription of immediate release Opioids instead of
                 extended release Opioids when Opioid therapy is initiated, including but not
                 limited to Third Party reimbursement or payment for such prescriptions;

          c.     The prescribing of the lowest effective dose of an Opioid, including but not
                 limited to Third Party reimbursement or payment for such prescription;

          d.     The limitation of initial prescriptions of Opioids to treat acute pain;

          e.     The prescribing and other means of distribution of naloxone to minimize
                 the risk of overdose, including but not limited to Third Party reimbursement
                 or payment for naloxone;

          f.     The use of urine testing before starting Opioid therapy and annual urine
                 testing when Opioids are prescribed, including but not limited to Third Party
                 reimbursement or payment for such testing;

          g.     Evidence-based treatment (such as using medication-assisted treatment
                 with buprenorphine or methadone in combination with behavioral
                 therapies) for Opioid Use Disorder, including but not limited to third party
                 reimbursement or payment for such treatment; or

          h.     The implementation or use of Opioid drug disposal systems that have
                 proven efficacy for the Company’s Opioid Products.

          i.     The Company shall not directly, or indirectly by employing or controlling
                 a Third Party, Lobby against the enactment of any federal, state or local
                 legislation or promulgation of any rule or regulation limiting the operation
                 or use of prescription drug monitoring programs (“PDMPs”), including, but
                 not limited to, provisions requiring Health Care Providers to review PDMPs
                 when Opioid therapy is initiated and with every prescription thereafter.

          j.     The Company shall not establish any Political Action Committees or make
                 campaign contributions to candidates for political office at any time prior to
                 the NewCo Disposition Event.



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    3.    Provided, however, that nothing in Section III.D of this injunction limits the
          Company from:

          a.     Challenging the enforcement of, or suing to stop the enactment of, or for
                 declaratory or injunctive relief with respect to any legislation, rules or
                 regulations;

          b.     Responding to a statute, rule, regulation, or order requiring such
                 communication;

          c.     Appearing before a federal or state legislative or administrative body,
                 committee, or subcommittee as a result of a mandatory order, or subpoena
                 commanding that person to testify;

          d.     Responding, in a manner consistent with this injunction, to an unsolicited
                 request for the input on the passage of legislation or the promulgation of any
                 rule or regulation when such request is submitted in writing specifically to
                 the Company from a government entity directly involved in the passage of
                 that legislation or promulgation of that rule or regulation;

          e.     Responding to unsolicited requests from the DEA, the FDA, or any other
                 Federal or state agency and/or participating in FDA or other agency panels
                 at the request of the agency;

          f.     Communicating with governmental officials regarding access to,
                 availability of, procurement of, or use of PHI Products.

          g.     Monitoring any pending or proposed legislation, rule or regulation relating
                 to its business, including directly or indirectly through grantees or Third
                 Parties.

    4.    The Company shall not Lobby by affirmatively advocating either for or against the
          enactment of any federal, state, or local legislation or promulgation of any rule or
          regulation or the appointment of any individual to public office, unless NewCo’s
          Board shall have determined that the request comports with the Company’s Purpose
          (as defined in the NewCo Operating Agreement). If NewCo’s Board so determines,
          then the Company shall provide advance notice to the Monitor of its intention to
          Lobby on the issue. The Monitor shall then have the sole and absolute discretion
          to direct that the activity not take place if the Monitor exercises such discretion and
          determines that the request approved by the NewCo Board (a) is expressly
          prohibited by the terms of this injunction, or (b) does not reasonably comport with
          the Company’s Purpose (as defined in the NewCo Operating Agreement). Nothing
          in Section III.D.4 shall permit advocacy that is otherwise prohibited under Section
          III.D.

    5.     The Company shall require all of its officers, employees, and agents engaged in
          conduct described in Section III.D to certify annually in writing or by appropriate
          electronic means to the Company that they are aware of and will fully comply with

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           the provisions of this injunction with respect to Lobbying on behalf of the
           Company.

     6.    On a quarterly basis, NewCo will report its Lobbying activities to the Monitor and
           the Board. The requirements of Section III.D shall remain in effect until the NewCo
           Disposition Event.

E.   Ban on Prescription Savings Cards

     1.    The Company shall not directly or through a Third Party offer prescription savings
           cards or coupons for its Opioid Products (other than PHI Products) except to
           existing, commercially insured, non-cash paying patients. Nothing in this
           paragraph shall prohibit the Company from utilizing unsolicited electronic point-
           of-dispense programs for the benefit of commercially-insured, non-cash paying
           patients.

     2.    The Company shall not directly or indirectly assist patients, Health Care Providers,
           or pharmacies regarding the claims and/or prior authorization process required for
           third-party payors to approve claims involving any Opioid Product.

F.   Monitoring and Reporting of Direct and Downstream Customers

     1.    The Company shall operate an effective monitoring and reporting system in
           compliance with 21 C.F.R. § 1301.71(a), 21 C.F.R. §1301.74(b), 21 U.S.C. §
           823(d) and Section 3292 of the SUPPORT for Patients and Communities Act and
           final DEA administrative decisions that are published in the Federal Register.

     2.    The monitoring and reporting system shall include processes and procedures
           pertaining to Opioid Products that:

           a.     Utilize all reasonably available information and conduct appropriate due
                  diligence to identify a Suspicious Order of an Opioid Product by a direct
                  customer, including, but not limited to, utilizing appropriate algorithms to
                  identify orders of unusual size, unusual frequency and/or that deviate from
                  a normal pattern.

           b.     Review all Suspicious Orders to determine whether circumstances warrant
                  permitting a Suspicious Order to be cleared for shipment. As part of this
                  review, the Company shall conduct appropriate due diligence including, but
                  not limited to, collecting additional information and documentation from
                  direct customers that explain whether the order is legitimate, and
                  conducting a site visit if warranted. No Suspicious Order may be cleared
                  absent adequate, documented justification.

           c.     In addition to the review above, each month the Company shall make a
                  selection of previously cleared orders for further review. Such additional
                  review will include, but not be limited to gathering information pertaining
                  to the legitimacy of the customer’s orders and investigating whether there

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                 are indicators that a direct or downstream customer poses a risk of diversion.
                 The Company shall document its review and findings.

          d.     Require all direct customers to annually complete a Wholesaler Due
                 Diligence Questionnaire (“Questionnaire”), utilize all information that the
                 Company receives through such Questionnaire, and require any direct
                 customer that provides incomplete, unsigned, or unresponsive responses, or
                 fails to provide referenced accompanying information to correct the
                 deficiency. The Company will conduct site visits to corroborate the
                 information obtained from its customers. Once the Questionnaire review
                 process is complete, any Questionnaire that is incomplete, unsigned or
                 unresolved shall result in denial of clearance for shipment.

          e.     Utilize all reasonably available Downstream Customer Data to identify
                 whether a downstream customer poses a material risk of diversion of an
                 Opioid Product, including, but not limited to: a monthly review of
                 Downstream Customer Data; review of Downstream Customer Data to
                 identify downstream customers that consistently have a large volume of
                 chargebacks meriting further investigation; the establishment of objective
                 methods for identifying chargeback units that merit further review; and the
                 review of chargeback reports to identify downstream customers that have
                 higher chargebacks on a repeat basis. If chargeback data reveals suspicious
                 indicia (e.g. the number or frequency of chargebacks), the Company shall
                 investigate further. To the extent the inquiry does not resolve the concern,
                 the Company shall report the identity of the downstream customer to DEA
                 and to the relevant direct customers.

          f.     Utilize all reasonably available information that the Company receives that
                 indicates an unreasonable risk of a direct customer’s or a downstream
                 customer’s diversion activity or potential for diversion activity, including
                 reports by the Company’s employees, customers, Health Care Providers,
                 law enforcement, state, tribal, or federal agencies, or the media.

          g.     Upon request (unless otherwise required by law), report to any requesting
                 State Attorney General or State controlled substances regulatory agency or
                 Department of Justice component any direct customer or downstream
                 customer in such requesting State Attorney General’s or agency’s State
                 identified as part of the monitoring required by Sections III.F.2(a)-(f), and
                 any customer relationship in such State terminated by the Company relating
                 to diversion or potential for diversion. DEA will be notified of all
                 Suspicious Orders. Additionally, rejected order information will be shared
                 with DEA in compliance with governing statutes and regulations. These
                 reports shall include the following information, to the extent known to the
                 Company:

                i.      The identity of the downstream customer and the direct customer(s)
                        engaged in the controlled substance transaction(s), to include each

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                           registrant’s name, address, business type, and DEA registration
                           number.

                ii.        The dates of reported distribution of controlled substances by direct
                           customers to the downstream customer during the relevant time
                           period.

               iii.        The drug name, drug family or NDC and dosage amounts reportedly
                           distributed.

               iv.         The transaction or order number of the reported distribution.

                v.         A brief narrative providing a description of the circumstances
                           leading to the Company’s suspicion that there is a risk of diversion.

          h.         The Company will retain record copies of documentation associated with
                     Sections III.F.2(a)-(g), and make such documentation available to any
                     federal, state, or local law enforcement agency upon request.

    3.    The Company shall not provide to any direct customer an Opioid Product to fill an
          order identified as a Suspicious Order unless the Company investigates and finds
          that the identified order is not suspicious. The Company may not find an identified
          order is not suspicious solely based on a threshold review. Where the Company
          has reviewed an order identified as a Suspicious Order and determined that the
          identified order is not suspicious, the Company must document the basis for its
          determination, and provide such documentation to the Monitor. The Company will
          retain record copies of documents provided to the Monitor, and make such
          documentation available to any federal, state, or local law enforcement agency upon
          request.

    4.    The Company shall promptly notify the DEA of findings by the Monitor related to
          the Company’s suspicious order monitoring program.

    5.    The Company shall employ sufficient staff so that the suspicious order monitoring
          can be robust, the review of customer provided Questionnaires can be thorough,
          and the documentation of all decisions related to Suspicious Orders can be thorough
          and complete.

    6.    Upon request, the Company shall provide full cooperation and assistance to any
          federal, state or local law enforcement investigations of potential diversion or
          suspicious circumstances involving Opioid Products, including criminal law
          enforcement agencies, drug control agencies, professional licensing boards, and
          Attorney General’s offices. For the avoidance of doubt, the Company must provide
          full cooperation to DEA and any component of the Department of Justice.

    7.    The Company will refrain from providing an Opioid Product (other than a PHI
          Product) directly to a retail pharmacy location or Health Care Provider or otherwise
          engaging in activity that requires it to be registered as a distributor under the

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           Controlled Substances Act. Nothing in this provision, however, prevents the
           Company from acting as a distributor of PHI Products consistent with applicable
           law.

G.   General Terms

     1.    To the extent that a provision in this injunction conflicts with federal or relevant
           state law or regulation, the requirements of the law or regulation will prevail. To
           the extent that any provision in the injunction is in conflict with federal or relevant
           state law such that the Company cannot comply with both the statute or regulation
           and a provision of this injunction, the Company may comply with such statute or
           regulation. To the extent that the Company makes any such determination, it will
           disclose the conflict and its determination to the affected State Attorney(s) General,
           the Director, Consumer Protection Branch, Department of Justice, and the Monitor
           as soon as reasonably practicable and in advance of any change to the Company’s
           policies or practices.

     2.    The Company shall not make any written or oral statement about Opioids, Opioid
           Products or PHI Products that is unfair, false, misleading or deceptive, or
           unconscionable.

     3.    The Company shall not represent that Opioids, Opioid Products or PHI Products
           have approvals, characteristics, uses, benefits, or qualities that they do not have or
           are inconsistent with the products’ FDA-approved labeling.

     4.    For the avoidance of doubt, nothing in this injunction is intended to or shall be
           construed to prohibit the Company in any way whatsoever from taking legal or
           factual positions with regard to its Opioid Product(s) in defense of litigation or other
           legal proceedings or investigations.

     5.    Upon the request of any State Attorney General or federal component, the Company
           shall provide the requesting State Attorney General or federal component with the
           following, within 30 days of the request:

           a.     Notification as to whether the Company has received any litigation or civil
                  or criminal law enforcement subpoenas or Civil Investigative Demands
                  relating to the Company’s Opioid Product(s), as well as the identity of the
                  state or federal component(s) that issued any such subpoenas or Civil
                  Investigative Demands.

           b.     Copies of warning or untitled letters issued by the FDA regarding the
                  Company’s Opioid Product(s) and all non-confidential correspondence
                  between the Company and the FDA related to such letters.

     6.    Whenever possible, each provision of this injunction shall be interpreted in such
           manner as to be effective and valid under applicable law and regulation, but if any
           provision of this injunction is held to be prohibited by or invalid under applicable


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               law, such provision shall be ineffective only to the extent of such prohibition or
               invalidity, without invalidating the remainder of this injunction.

H.       Compliance with All Laws and Regulations Relating to the Sale, Promotion, and
         Distribution of Any Opioid Product

         1.    The Company shall comply with all laws and regulations that relate to the sale,
               Promotion, distribution, and disposal of any Opioid Product or PHI Product
               including but not limited to:

               a.     State controlled substances acts.

               b.     The Federal Controlled Substance Act and any regulation promulgated
                      thereunder.

               c.     The Federal Food, Drug and Cosmetic Act, or any regulation promulgated
                      thereunder.

               d.     Federal health care offenses, as defined in 18 U.S.C. § 24.

               e.     State consumer protection and unfair trade practices acts.

               f.     State laws and regulations related to prescribing, distribution and disposal
                      of Opioid Products.

               g.     Bribery, Foreign Corrupt Practices Act, Anti-Kickback, and Stark laws and
                      regulations.

I.       Compliance Deadlines

         1.    As of 90 days after the Effective Date, the Company must be in full compliance
               with the provisions included in this injunction.

J.       Training

         1.    The Company shall provide regular training, at least once per year, to relevant
               employees on their obligations imposed by this injunction. The Company shall
               provide training to any new employees at the time of their onboarding.

                        IV.     CLINICAL DATA TRANSPARENCY

A.       Data to Be Shared

         1.    The Company shall share the following clinical data to the extent and in a manner
               permitted by applicable law and contracts, including data privacy laws, informed
               consent forms and clinical trial protocols through a third-party data archive that
               conforms to the requirements defined below to increase the transparency of its
               clinical research.


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           a.      The Company shall make available all clinical data and/or information it
                   possesses in electronic form that can be located following a reasonably
                   diligent search, regarding OxyContin® Tablets, Butrans® Transdermal
                   System and Hysingla® Tablets previously disclosed to the FDA.

           b.      The Company shall make available all previously unreleased, clinical data
                   it possesses in electronic form that can be located following a reasonably
                   diligent search, regarding OxyContin® Tablets, Butrans® Transdermal
                   System and Hysingla® Tablets, for both approved and unapproved
                   indications, including:

                  i.      Full analyzable data set(s) (including individual participant-level
                          data de-identified by an independent biostatistician);

                 ii.      The clinical study report(s) redacted for commercial or personal
                          identifying information;

                iii.      The full protocol(s) (including the initial version, final version, and
                          all amendments); and

                iv.       Full statistical analysis plan(s) (including all amendments and
                          documentation for additional work processes) and analytic code.

B.   Third-Party Data Archive

     1.    The Company shall share the clinical data and information described in Section
           IV.A.1 via a third-party data archive that makes clinical data available to Qualified
           Researchers with a bona fide scientific research proposal.

     2.    The Company shall begin sharing information identifying the clinical data and
           information described in Section IV.A.1.a and b with the vendor no later than 30
           days following entry of the Confirmation Order and shall complete that process of
           identifying the clinical data and information described in Section IV.A.1.a and b no
           later than 90 days following entry of the Confirmation Order.

     3.    The data archive shall have a panel of reviewers with independent review authority
           to determine whether the researchers are qualified, whether a research application
           seeks data for bona fide scientific research, and whether a research proposal is
           complete.

     4.    The panel may exclude research proposals with a commercial interest.

C.   Non-Interference

     1.    The Company shall not interfere with decisions made by the staff or reviewers
           associated with the third-party data archive.



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     2.     Unless expressly stated herein, the Company shall have no communications
            directly or indirectly with a Qualified Researcher, including with regard to the data
            added to the third party archive.

D.   Data Use Agreement

     1.     Any data sharing agreement with a Qualified Researcher who receives shared data
            via the third-party data archive shall contain contact information for the Company’s
            pharmacovigilance staff. Every agreement shall require the lead qualified
            researcher to inform the Company’s pharmacovigilance staff within 24 hours of
            any determination that research findings could detrimentally impact the risk-benefit
            assessment regarding the product. The Company’s pharmacovigilance staff shall
            take all necessary and appropriate steps upon receipt of such safety information,
            including but not limited to notifying regulatory authorities or the public. The lead
            Qualified Researcher may also inform regulatory authorities of the safety signal
            impacting the risk-benefit assessment as well as provide reasonable notice to the
            Company.

E.   Cost

     1.     The Company shall bear all costs for making data and/or information until the
            NewCo Disposition Event.

                             V.      DISPUTE RESOLUTION

A.   For the purposes of resolving disputes with respect to compliance with this injunction,
     should any State Attorney General or federal agency have reason to believe that the
     Company has violated a provision of this injunction subsequent to the Effective Date, then
     such Attorney General or federal agency shall notify the Company in writing of the specific
     objection, identify with particularity the provisions of this injunction that the practice
     appears to violate, and give the Company 30 days to respond to the notification.

B.   Upon 30 days of receipt of written notice from such State Attorney General or federal
     agency, the Company shall provide a written response, containing either a statement
     explaining why the Company believes it is in compliance with this injunction or a detailed
     explanation of how the alleged violation occurred and a statement explaining how and
     when the Company intends to remedy or has remedied the alleged violation.

C.   Such State Attorney General may not take any action concerning the alleged violation of
     this injunction during the 30-day response period. Nothing shall prevent such State
     Attorney General from agreeing in writing to provide the Company with additional time
     beyond the 30 days to respond to the notice. However, such State Attorney General may
     take any action, including, but not limited to legal action to enforce compliance with the
     [Confirmation Order/consent judgment specified by Section II.B], without delay if such
     State Attorney General believes that, because of the specific practice, a threat to the health
     or safety of the public requires immediate action.



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D.   Such State Attorney General may bring an action against the Company to enforce the terms
     of the [Confirmation Order/consent judgment specified by Section II.B], but only after
     providing the Company an opportunity to respond to the notification as described above or
     within any other period as agreed to by the Company and such State Attorney General.

E.   Nothing in this injunction shall be interpreted to limit any State Attorney General’s Civil
     Investigative Demand (“CID”) or investigative subpoena authority and any federal
     agency’s subpoena or investigative authority, to the extent such authority exists under
     applicable state or federal law. The Company agrees to comply with such CID, subpoenas,
     or other demands or requests issued pursuant to such authority.

F.   Nothing herein shall be construed to exonerate any failure to comply with any provision of
     this injunction after the Effective Date, or to compromise the authority of any State
     Attorney General to take action for any failure to comply with this injunction.

                           VI.    INDEPENDENT MONITOR

A.   Monitor Selection and Engagement

     1.     The Company shall engage a Monitor to review its compliance with this injunction.

     2.     Steven Bullock, the Monitor approved by the Bankruptcy Court on March 1, 2021
            to oversee compliance with the Voluntary Injunction, shall continue to serve as
            Monitor with respect to this injunction after the Effective Date.

     3.     If a new Monitor must be appointed due to the Monitor resigning or otherwise
            becoming unable to perform the specified tasks, the TopCo Managers shall select a
            new Monitor, who must be approved by the State Monitor Committee which
            approval shall not be unreasonably withheld and approved by the Court. The
            selected Monitor approved by the State Monitoring Committee may serve while
            Court approval is pending.

     4.     The Monitor may employ or retain personnel who have appropriate qualifications
            related to the pharmaceutical industry and the laws governing the manufacture,
            marketing and sale of pharmaceuticals and controlled substances and the applicable
            requirements of federal and state law. The Monitor may also retain the services of
            additional third-parties to the extent that additional expertise is required for the
            engagement. The Monitor may consult with and seek input from the Company and
            the State Monitor Committee prior to finalizing the retentions described in this
            paragraph.

B.   Term

     1.     The Company shall retain a Monitor until the NewCo Disposition Event(s).

     2.     As required under Section II.A, any person or entity that acquires some or all of the
            Company’s Opioid Products, including through the NewCo Disposition Event,


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           shall retain the Monitor for at least one (1) year after the effective date of the
           transaction.

C.   Monitor’s Scope of Work

     1.    The Monitor shall review the Company’s ongoing compliance with the
           requirements of this injunction.

     2.    The Monitor will report his or her findings as provided in Section VI.F.

     3.    In the event that in the course of reviewing the Company’s compliance with the
           requirements of this injunction the Monitor becomes aware of action or conduct by
           the Company that the Monitor believes may pose a threat to the health or safety of
           the public or otherwise requires prompt action, the Monitor may in his or her sole
           discretion, notify the Company and the States of such action or conduct without
           following the procedures provided in Section VI.F below.

     4.    Within thirty (30) calendar days after the Effective Date, the State Monitor
           Committee and the Company shall confer with the Monitor on a work plan and
           contract. In the event a new Monitor is appointed within thirty (30) days prior to
           the Effective Date, the State Monitor Committee and the Company shall have sixty
           (60) days from the Effective Date to confer with the Monitor on a work plan and
           contract. The work plan shall set forth the substance of the Monitor’s review and
           the manner in which the Monitor will carry out his or her review of the Company’s
           compliance with this injunction, including the general scope of information that the
           Monitor will seek to review. The Monitor shall have final authority to determine
           the content and substance of the work plan. The Monitor may select the period of
           time covered by the work plan, not to exceed one year. Any work plan and contract
           in place before the Effective Date may continue to be used upon agreement of the
           State Monitor Committee, the Company, and the Monitor.

     5.    At least annually, and more frequently if appropriate, the Company and the State
           Monitor Committee will meet in person or virtually to discuss the monitorship and
           any suggestions, comments, or improvements the Company may wish to discuss
           with or propose to the State Monitor Committee, unless the Company and the State
           Monitor Committee believe such a meeting is unnecessary.

D.   Monitor Access to Information

     1.    In connection with its review of the Company’s compliance with this injunction,
           the Monitor shall be vested with broad discretion to review the Company’s
           operations, including access to documents and the right to interview employees, as
           the Monitor determines is reasonably necessary to fulfill its duties under this
           injunction, with reasonable notice to the Company and without unreasonable
           interference in the Company’s or its employees’ ability to perform day-to-day
           operations. The Monitor shall have all powers reasonable and necessary to
           efficiently and effectively discharge its responsibilities subject to appropriate
           confidentiality.
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     2.     The Company’s General Counsel or his designee shall serve as the primary point
            of contact for the Monitor to facilitate the Monitor’s reasonable access to
            documents, materials, or employees necessary to review for compliance with this
            injunction. The Monitor shall have unfettered access to the Chief Compliance
            Officer. The Monitor shall make a good faith effort to leverage the Company’s
            existing compliance mechanisms when reviewing the Company’s compliance with
            this injunction. The Monitor shall communicate any request for documents,
            materials, or access to employees to the [General Counsel or his designee], but,
            subject to the terms hereof, is not prohibited from speaking with any other current
            or former employees of the Company.

     3.     The Company shall not intimidate, harass, threaten, or penalize any employee or
            former employee for his or her cooperation with or assistance to the Monitor.

     4.     If at any time the Monitor reasonably believes that there is undue delay, resistance,
            interference, limitation, or denial of access to any records or to any employee
            deemed necessary by the Monitor to implement or review compliance by the
            Company with this injunction, the Monitor may meet and confer with the
            Company’s [General Counsel or his designee]. If the Monitor cannot resolve such
            limitation or denial, it shall be immediately reported to the Board of NewCo. If the
            issue remains unresolved after consultation with the Board of NewCo, the Monitor
            shall report the issue to the State Monitor Committee.

E.    Access to Monitor

     1.     There shall be no limitation on the ability of the Monitor to communicate at any
            time with States and the United States, including any agency or component of the
            United States, regarding the Company’s conduct.

F.   Monitor Reports

     1.     Observations and Recommendations

            a.     If the Monitor notes any areas for potential improvement regarding the
                   Company’s compliance with this injunction during the course of his or her
                   reviews, the Monitor shall include any such recommendations in the Final
                   Report described below.

            b.     Collectively, any such questions, concerns or recommendations will be
                   referred to as “Observations and Recommendations.”

     2.     Draft and Final Reports

            a.     For purposes of the reporting described below, the Monitor’s work will be
                   divided into three-month periods (“Reporting Periods”).

            b.     No later than ten (10) calendar days after the close of a Reporting Period
                   and/or at any other time deemed reasonably necessary by the Monitor, the

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                  Monitor shall provide the Company and the State Monitor Committee with
                  a draft report identifying and detailing any Observations and
                  Recommendations and Potential Violations and the bases therefore (the
                  “Draft Report”). Potential Violations shall mean the Company’s failure to
                  comply with the provisions of this injunction, as reasonably determined by
                  the Monitor. The Company shall have the right to cure any Potential
                  Violation, in accordance with the below provisions. The Draft Report will
                  also contain detailed descriptions of any Observations and
                  Recommendations for Improvement.

          c.      Within seven (7) calendar days of its receipt of the Draft Report, the
                  Company will provide comments to the Draft Report. The Company may
                  also:

                 i.      Respond to each Potential Violation, including, where appropriate,
                         explaining why no violation occurred, or describing any corrective
                         action taken (or to be taken) as a result of the findings made by the
                         Monitor, including, where appropriate, providing documentation
                         supporting a relevant decision or additional context explaining the
                         Potential Violation and why it occurred.

                ii.      Respond to each         Observation    and   Recommendation       for
                         Improvement.

          d.      After receipt of the Company’s comments and responses and the State
                  Monitor Committee’s comments, if any, the Monitor will provide a final
                  report (the “Final Report”) simultaneously to the State Monitor Committee
                  and the Company.

          e.      The Final Report shall set forth:

                 i.      The Monitor’s evaluation of the Company’s compliance with this
                         injunction and the factual basis for the Monitor’s conclusions,
                         including whether a Potential Violation has occurred and an
                         explanation of the nature of the Potential Violation.

                ii.      The Monitor’s conclusion as to whether the Company has cured any
                         Potential Violations.

               iii.      The Final Report shall include a listing of the Observations and
                         Recommendations for Improvement made by the Monitor and
                         responses of the Company. Recommendations shall not be deemed
                         to be incorporated into the terms of this injunction.

               iv.       The Monitor shall create a public version of each Final Report. The
                         public version of each Final Report shall exclude all information that
                         the Monitor determines, in consultation with the Company, to be


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                           trade secret or otherwise commercially sensitive and shall be posted
                           on the Company’s website.

                   VII.    SHAREHOLDER RELEASED PARTIES

A.   The Shareholder Released Parties shall not take any action that would interfere with the
     Company’s compliance with its obligations under this injunction.




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